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 1   SCOTT N. CAMERON
     Attorney at Law
 2   1007 7th Street, Suite 319
     Sacramento, California 95814
 3   Telephone: (916) 442-5230
 4   Attorney for:
     MAISHA PEARL JONES
 5
 6
 7                    IN THE UNITED STATES DISTRICT COURT
 8                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,     )      CR. NO.    S-08-0145 FCD
                                   )
11                  Plaintiff,     )      STIPULATION AND ORDER CONTINUING
                                   )      CHANGE-OF-PLEA AND EXCLUDING TIME
12        v.                       )
                                   )
13                                 )
     MAISHA PEARL JONES,           )      DATE:     April 6, 2009
14                                 )      TIME:     10:00 a.m.
                    Defendant.     )      COURT:    Hon. Frank C. Damrell, Jr.
15   ______________________________)
16
17        The parties, through undersigned counsel, stipulate that the
18   change of plea, of defendant Maisha Pearl Jones, scheduled for April
19   6, 2009, may be continued to April 17, 2009, at 9:30 a.m.        On April 6,
20   2009, defense counsel for Maisha Jones will in a jury trial in state
21   court in the matter of the People v. Montell Deshay, et. al.,
22   (California Superior Court, County of Sacramento, case no. 08F00779,
23   Department 26, Honorable Peter Merging, Judge) and will be unable to
24   attend the change of plea now scheduled for that same date.           It is
25   important that counsel for defendant be present when she enters her
26   change-of-plea in order to provide her assistance and advice of
27   counsel. So, the parties also agree that time may be excluded through
28   April 17, 2009, under the Speedy Trial Act for defense counsel

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 1   preparation, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv), Local Code T4.
 2        The prosecutor has authorized the defense counsel for Maisha
 3   Jones to sign this stipulation on his behalf.
 4
 5   DATED: April 2, 2009                      LAWRENCE G. BROWN
                                               Acting United States Attorney
 6
 7                                    by       /s/ Scott Cameron, for_
                                               Russell Carlberg
 8                                             Assistant U.S. Attorney
 9
     DATED: April 2, 2009
10                                    by       /s/ Scott Cameron
                                               Scott Cameron
11                                             Counsel for Maisha Jones
12
13                                      ORDER
14        Good cause appearing,
15        The change of plea of Maisha Jones, scheduled for April 6, 2009,
16   is continued to April 17, 2009, at 9:30 a.m.
17        Time is excluded from the speedy trial calculation pursuant to 18
18   U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4 for counsel preparation
19   through and including April 17, 2009.
20        IT IS SO ORDERED.
21
22   DATED: April 3, 2009
                                        _______________________________________
23
                                        FRANK C. DAMRELL, JR.
24                                      UNITED STATES DISTRICT JUDGE
25
26
27
28

                                           2
